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                      10       Receivable Fund, LP

                      11
                                                     UNITED STATES BANKRUPTCY COURT
                      12
                                                               DISTRICT OF NEVADA
                      13

                      14      In re:
                                                                             Case No.: 21-14486-abl
                      15      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                      16                       Debtor.                       Adversary Case No. 21-01167-abl
                      17
                                                                             NOTICE OF ENTRY OF ORDER
                              HASELECT-MEDICAL RECEIVABLES                   GRANTING DEFENDANT’S EX
                      18
                              LITIGATION FINANCE FUND                        PARTE MOTION TO EXCEED PAGE
                      19      INTERNATIONAL SP,                              LIMIT FOR REPLY TO PLAINTIFF
                                                                             HASELECT-MEDICAL
                      20                       Plaintiff,
                                                                             RECEIVABLES LITIGATION
                      21      v.                                             FINANCE FUND INTERNATIONAL
                                                                             SP’S OPPOSITION TO TECUMSEH
                      22      TECUMSEH-INFINITY MEDICAL                      INFINITY MEDICAL RECEIVABLE
                              RECEIVABLES FUND, LP,                          FUND, LP’S MOTION FOR PARTIAL
                      23                                                     SUMMARY JUDGMENT AS TO
                                               Defendant.                    CERTAIN DISPUTED
                      24
                                                                             RECEIVABLES
                      25
                              TECUMSEH-INFINITY                  MEDICAL
                      26      RECEIVABLES FUND, LP,
                                                                             Date: N/A
                      27                       Counter-Claimant,             Time: N/A
                      28
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                              Case 21-01167-abl       Doc 143     Entered 10/25/22 16:24:39      Page 2 of 7


                        1     v.
                        2     HASELECT-MEDICAL RECEIVABLES
                              LITIGATION FINANCE FUND
                        3     INTERNATIONAL SP,
                        4
                                                Counter-Defendant.
                        5

                        6     HASELECT-MEDICAL RECEIVABLES
                              LITIGATION FINANCE FUND
                        7     INTERNATIONAL SP,
                        8                       Counter-Claimant
                        9
                              v.
                      10
                              TECUMSEH-INFINITY MEDICAL
                      11      RECEIVABLES FUND, LP,

                      12                        Counter-Defendant.
                      13

                      14       NOTICE OF ENTRY OF ORDER GRANTING DEFENDANT’S EX PARTE MOTION
                      15        TO EXCEED PAGE LIMIT FOR REPLY TO PLAINTIFF HASELECT-MEDICAL
                                   RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP’S
                      16        OPPOSITION TO TECUMSEH INFINITY MEDICAL RECEIVABLE FUND, LP’S
                                         MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO
                      17                        CERTAIN DISPUTED RECEIVABLES
                      18             NOTICE IS HEREBY GIVEN that an Order Granting Tecumseh–Infinity Medical
                      19      Receivable Fund LP’s Ex Parte Motion to Exceed Page Limit for Reply to Plaintiff HASelect-
                      20      …

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                              Case 21-01167-abl        Doc 143     Entered 10/25/22 16:24:39        Page 3 of 7


                        1     Medical Receivables Litigation Fund International SP’s Opposition to Motion for Partial Summary

                        2     Judgment as to Direct Purchase Receivables [ECF No. 130] (“Order”), was entered in the above-
                              entitled matter on October 24, 2022. A copy of the Order is attached hereto as Exhibit 1.
                        3
                                     Dated this 25th day of October, 2022.
                        4
                                     .
                        5
                                                                             GARMAN TURNER GORDON LLP
                        6
                                                                             By: /s/ Jared M. Sechrist
                        7                                                    GERALD M. GORDON, ESQ.
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                      19                                                     Receivable Fund, LP
                      20

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                          Entered on Docket
                   5October 24, 2022
                ___________________________________________________________________
                        6

                        7

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                      17       Receivable Fund, LP

                      18
                                                     UNITED STATES BANKRUPTCY COURT
                      19
                                                               DISTRICT OF NEVADA
                      20

                      21      In re:
                                                                             Case No.: 21-14486-abl
                      22      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                      23                       Debtor.                       Adversary Case No. 21-01167-abl
                      24
                                                                             DEFENDANT’S EX PARTE MOTION
                              HASELECT-MEDICAL     RECEIVABLES               TO EXCEED PAGE LIMIT
                      25
                              LITIGATION     FINANCE      FUND               FOR REPLY TO PLAINTIFF
                      26      INTERNATIONAL SP,                              HASELECT-MEDICAL
                                                                             RECEIVABLES LITIGATION
                      27                       Plaintiff,
                                                                             FINANCE FUND INTERNATIONAL
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                        1     v.                                                SP’S OPPOSITION TO TECUMSEH-
                                                                                INFINITY MEDICAL RECEIVABLE
                        2     TECUMSEH-INFINITY                  MEDICAL        FUND, LP’S MOTION FOR
                              RECEIVABLES FUND, LP,                             PARTIAL SUMMARY JUDGMENT
                        3
                                                                                AS TO CERTAIN DISPUTED
                                                Defendant.                      RECEIVABLES
                        4

                        5
                              TECUMSEH-INFINITY                  MEDICAL
                        6     RECEIVABLES FUND, LP,                             Date: ExParte
                        7                                                       Time: ExParte
                                                Counter-Claimant,
                        8     v.
                        9     HASELECT-MEDICAL     RECEIVABLES
                      10      LITIGATION     FINANCE      FUND
                              INTERNATIONAL SP,
                      11
                                                Counter-Defendant.
                      12

                      13      HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                      14
                              INTERNATIONAL SP,
                      15
                                                Counter-Claimant
                      16
                              v.
                      17
                              TECUMSEH-INFINITY                  MEDICAL
                      18      RECEIVABLES FUND, LP,
                      19                        Counter-Defendant.
                      20

                      21             The Court having considered Tecumseh–Infinity Medical Receivable Fund LP’s Ex Parte

                      22      Motion to Exceed Page Limit for Reply to Plaintiff HASelect-Medical Receivables Litigation

                      23      Fund International SP’s Opposition to Motion for Partial Summary Judgment as to Direct Purchase

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                      25      …

                      26      …

                      27      …

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                        1     Receivables 1 (the “ExParte Motion”), and good cause appearing therefore:

                        2            IT IS HEREBY ORDERED that the Ex Parte Motion is GRANTED, and Tecumseh may

                        3     file its Reply to Opposition in excess of the page limits in LR 9014(e) to include a maximum of

                        4     up to twenty-five (25) pages of factual and legal analysis and arguments.

                        5            IT IS SO ORDERED.

                        6     PREPARED AND SUBMITTED:

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                      18      Receivables Fund, L.P.
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                                All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise
                      28      defined herein.
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